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            IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DIVISION OF TEXAS
                     BEAUMONT DIVISION



                                  No.1:08-cr-94


United States of America


v.

Jerry Eugene Lopez

                                             Defendant




             Findings of Fact and Recommendation on Guilty Plea
                   Before United States Magistrate Judge


      Pursuant to 28 U.S.C. § 636(b), this matter was referred to the under-
signed United States Magistrate Judge to receive defendant’s guilty plea.

      On January 20, 2009, defendant, defendant’s counsel, and the government
came before the court for guilty plea and allocution on Count I of the Information
filed herein, charging a violation of 21 U.S.C. § 846. After conducting proceed-
ings in the form and manner prescribed by Rule 11 of the Federal Rules of
Criminal Procedure, the undersigned accepted the guilty plea and finds:

      (1)   Defendant, after consultation with counsel of record, knowingly and
voluntarily consents to pleading guilty before a United States magistrate judge,
and did plead guilty to Count I of the Information subject to final approval of the
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plea agreement, conviction and imposition of sentence by the district judge to
whom this case is assigned.

      (2)   Defendant is fully competent and capable of entering an informed
plea, is aware of the nature of the charges and the consequences of the plea, and
the plea of guilty is a knowing and voluntary plea supported by an independent
basis in fact containing each of the essential elements of the offense.

      (3)    Defendant’s plea is made pursuant to a plea agreement, a copy of
which was produced for inspection and filed in the record. The plea agreement
is of the type specified in Fed. R. Crim. P. 11 (c)(1)(A) and (B), in that (1) the
government agrees to not bring, or move to dismiss, other charges and (2) the
parties agree and make a non binding recommendation that a particular
provision of the Sentencing Guidelines, policy statement, or sentencing factor
does or does not apply.

      (4)   Defendant was advised that the court would defer its decision as to
acceptance or rejection of the plea agreement until there has been an opportu-
nity to consider the presentence report.

      (5)   Defendant was further advised that if the court chooses not to follow
the plea agreement’s stipulations regarding appropriate sentencing factors,
defendant will have no right to withdraw the plea.

      (6)    Defendant was further advised that if the court accepts that part of
the plea agreement provision wherein the United States agrees to dismiss or not
bring other charges, such agreed disposition will be included in the judgment.
Defendant was further advised that if the court rejects that provision, the court
will give defendant an opportunity to withdraw the plea of guilty. Defendant
was further advised that if defendant were to then choose not to withdraw the


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plea of guilty, the court may dispose of the case less favorably toward the
defendant than the plea agreement contemplated.

                             RECOMMENDATION

      Defendant’s guilty plea has been accepted. The court should defer its
decision as to acceptance or rejection of the plea agreement until it has an
opportunity to consider the presentence report. If the court ultimately decides
to accept the plea agreement, defendant should be adjudged guilty of the offense
to which he has pleaded guilty.1

                   21 day of January, 2009.
      SIGNED this _____




                                     ______________________________________
                                     Earl S. Hines
                                     United States Magistrate Judge




      1
        Upon conclusion of plea proceedings, both parties stated that they do not
object to the findings and recommendation stated above.      Moreover, magistrate
judges accept felony guilty pleas for purposes of Rule 11, Federal Rules of
Criminal Procedure, upon direction of a United States district judge and with
consent of the parties under the “additional duties” clause of the Federal
Magistrates Act of 1968, codified at 28 U.S.C. § 636(b)(3). Section 636(b)(3)
does not provide a party with ten days to file written objections. Minetti v.
Port of Seattle, 152 F.3d 1113 (9th Cir.1998); see also United States v. Brumer,
528 F.3d 157 (2nd Cir.2008), United States v. Reyna-Tapia, 328 F.3d 1114 (9th
Cir.2003).

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